          Case 4:06-cr-00053-JLH Document 94 Filed 07/27/06 Page 1 of 13




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                     No. 4:06CR00053 JLH

EYAD HASSAN
LINDA HASSAN                                                                         DEFENDANTS


                                     OPINION AND ORDER

       Eyad and Linda Hassan, along with four persons related to them, have been indicted for

structuring financial transactions to evade reporting requirements and for conspiring to do so. The

government has filed a motion for protective order to preserve a convenience store owned by

defendants Eyad and Linda Hassan and for a writ of entry. The Hassans object to the government’s

motion. The Hassans also move for the release of cash previously seized by the government from

the Hassans’ home and the home of two co-defendants. For the following reasons, the government’s

motion is denied, and the Hassans’ motion is granted in part and denied in part.

                                                  I.

       The FBI has investigated Eyad and Linda Hassan and four members of their extended family

– Fuad Hasan, Hanan Hasan, Sahar Alabed Kattom, and Amjad Mutie Kattom – on suspicion of

conspiring to transfer large amounts of money outside of the United States in such a manner as to

evade reporting the transactions as required by federal law. An affidavit of an FBI agent who

participated in the investigation describes the activities and the circumstances of the alleged scheme.

This affidavit was submitted in support of the government’s motion. According to the affidavit, a

person who purchases from a financial institution an official check in the amount of $3,000 or more

must submit identification to assist the bank with filing a Monetary Currency Transaction Report
           Case 4:06-cr-00053-JLH Document 94 Filed 07/27/06 Page 2 of 13




(“MCTR”). The affidavit states that all six of the defendants purchased numerous official checks

from various banks in amounts just below $3,000. The affidavit describes one transaction in which

Linda Hassan entered a Regions Bank with a paper sack containing a post-it note and cash in the

amount of $2,971. The post-it note said “To: Rana Naji,” “From: Aisha Ahmad,” “$2965.00.” After

charging Linda Hassan $6.00 for the official check, the bank teller made the check for $2,965.00

payable to Rana Naji and showed the remitter as Aisha Ahmad. The FBI agent asserts that all of the

checks purchased by Linda Hassan have been negotiated overseas. The affidavit further states that,

according to a report filed by Regions Bank with the FBI, “Linda Hassan also has a pattern of

depositing cash in amounts just below the MCTR $10,000 threshold.” These cash deposits went into

an account for the Markham Food Mart, which is owned by Eyad and Linda Hassan.

       The affidavit also states, “Linda and Iyad [sic] Hassan and Fuad and Hanan Hasan are living

and conducting financial transactions at levels that are not commensurate with their reported

income.” Specifically, both couples have monthly automobile and mortgage payments that

apparently exceed their ability to pay based upon their reported incomes on their income tax returns.

       In November 2005, the FBI executed search warrants and seized $101,054 from Eyad and

Linda Hassan’s home and $2,460 from Fuad and Hanan Hasan’s home. About four months later,

all six targets of the FBI’s investigation were indicted on charge of structuring financial transactions

to evade reporting requirements in violation of 31 U.S.C. §§ 5324 and 5325 and conspiracy to

structure financial transactions to evade reporting requirements in violation of 18 U.S.C. § 371.1

       The government now seeks a pretrial protective order and a writ of entry regarding a


       1
         Eyad and Linda Hassan are also charged with health care fraud in violation of 18 U.S.C.
§ 1347. Fuad and Hanan Hasan are also charged with bulk cash smuggling in violation of 31
U.S.C. § 5332. These charges are not relevant to the motions now before the Court.

                                                   2
         Case 4:06-cr-00053-JLH Document 94 Filed 07/27/06 Page 3 of 13




convenience store, the University One Stop at 7300 South University, Little Rock, Arkansas, owned

by Eyad and Linda Hassan. The government contends that this convenience store is subject to

forfeiture due to the Hassans’ alleged violations of 31 U.S.C. §§ 5324 and 5325 and 18 U.S.C. § 371.

The government asks that the Hassans be restrained from alienating the property or impairing its

value. The government also contends that the cash seized is subject to forfeiture and is therefore

subject to pretrial restraint. The Hassans argue that neither the convenience store nor the cash can

be forfeited even if they are convicted, so those assets are not subject to pretrial restraint. The

Hassans argue that the government in fact seeks pretrial restraint of substitute assets, which the

government denies. The Hassans oppose the government’s motion for protective order and have

moved for the release of the cash that was seized on November 25, 2005.

       The Court held a hearing on June 23, 2006, regarding these motions. After hearing

arguments and taking evidence on the matter, including the testimony of Linda Hassan, the Court

asked the parties to submit additional briefs. The parties have done so. The government also has

moved for this Court to reopen the hearing to receive evidence that Eyad Hassan did not pay taxes

on the money that was seized from his home. The Hassans oppose the motion to reopen the hearing

on the grounds that the government has closed its proof and the defendants are not charged with a

tax offense. Whether Eyad Hassan paid taxes on the seized currency is not relevant to the issues

presently before the Court. Accordingly, the government’s motion to reopen the hearing is denied.

                                                 II.

       As noted above, the Hassans are charged with structuring financial transactions in violation

of 31 U.S.C. § 5324 and with conspiracy to commit this crime. The applicable criminal forfeiture

statute, 31 U.S.C. § 5317(c)(1), provides in pertinent part:



                                                 3
          Case 4:06-cr-00053-JLH Document 94 Filed 07/27/06 Page 4 of 13




       The court in imposing sentence for any violation of section . . . 5324 of this title, or
       any conspiracy to commit such violation, shall order the defendant to forfeit all
       property, real or personal, involved in the offense and any property traceable
       thereto. . . . Forfeitures under this paragraph shall be governed by the procedures
       established in [21 U.S.C. § 853].

       Section 853 provides for pretrial restraint of property that would be subject to forfeiture in

the event of conviction. After an indictment has been filed, “the court may enter a restraining order

or injunction . . . or take any other action to preserve the availability of property described in

subsection (a) of this section for forfeiture . . . .” 21 U.S.C. § 853(e)(1). Subsection (a), in turn,

provides that property subject to forfeiture includes “property constituting, or derived from, any

proceeds the person obtained, directly or indirectly, as the result of” the criminal offense and

“property used, or intended to be used, in any manner or part, to commit, or to facilitate the

commission of, such violation . . . .” 21 U.S.C. § 853(a). In other words, a defendant’s property is

subject to pretrial restraint under § 853(e) only if the property was obtained as a result of the crime

or used to facilitate commission of the crime. Cf. United States v. Field, 62 F.3d 246, 248-49 (8th

Cir. 1995).

       We bear in mind that “[p]reconviction restraints are extreme measures.” United States v.

Riley, 78 F.3d 367, 370 (8th Cir. 1996). See also United States v. Razmilovic, 419 F.3d 134, 137 (2d

Cir. 2005) (noting that the Supreme Court has dubbed pretrial restraint as a “‘nuclear weapon’ of the

law”); United States v. Ripinsky, 20 F.3d 359, 363 n.5 (9th Cir. 1994) (“Given the partly punitive

nature of § 853, we must be cautious about construing § 853 liberally.”).

       The Hassans contend that the only property involved in the alleged money structuring

offenses was the money sent overseas. Because that money is now unavailable to the government,

the Hassans argue, the government is trying to seize their cash and their convenience store as



                                                  4
          Case 4:06-cr-00053-JLH Document 94 Filed 07/27/06 Page 5 of 13




“substitute assets,” i.e., assets of equivalent value taken in place of property used in the commission

of a crime. While substitute assets are subject to forfeiture upon conviction in some circumstances,

they are not subject to pretrial restraint under § 853(e). Field, 62 F.3d at 248-49.

       The government argues, however, that the cash and the convenience store are not substitute

assets but assets actually involved in the offenses and therefore subject to pretrial restraint. As to

the convenience store, the government contends that the Hassans and the other defendants used the

store to generate revenue used to purchase the checks in structured amounts. As to the cash seized

from the defendants’ home, the government argues that the defendants generated these funds from

the convenience store and planned to use them to structure more financial transactions illegally.

A.     The convenience store was not “involved in” or “used to facilitate” the alleged
       money structuring offenses.

       In support of its position, the government cites three cases in which federal courts of appeal

have held that a defendant’s property was subject to forfeiture as property “involved in” the alleged

offense. As explained below, however, those cases are factually distinguishable from this one in

several crucial respects.

       In United States v. Hawkey, 148 F.3d 920 (8th Cir. 1998), a county sheriff was convicted of

various offenses in connection with his misuse of funds belonging to the sheriff’s department and

the sheriff and deputies’ association. The district court ordered the forfeiture of $140,450.08 in

misappropriated funds and a motor home that had been purchased in part with misappropriated

funds. Id. at 927. Affirming the district court, the Eighth Circuit explained that the motor home was

forfeitable because it was “traceable” to the crime inasmuch as the purchase of the motor home was

made possible by the use of misappropriated funds. Id. at 927-28. Forfeiture of the motor home was

proper even though the value of the property at the time of forfeiture exceeded the amount of

                                                  5
          Case 4:06-cr-00053-JLH Document 94 Filed 07/27/06 Page 6 of 13




misappropriated funds used in the purchase. Id. at 928.

       This case is different. The motor home in Hawkey was purchased in part with stolen funds.

Property purchased with stolen funds is subject to pretrial restraint under the terms of § 853 as

“proceeds” of or property “derived from” the underlying crime. The government has presented no

evidence that the Hassans’ convenience store was purchased with proceeds of criminal activity or

otherwise illegally obtained.

       The government argues, however, that the convenience store is subject to forfeiture under

§ 853 as property used “to facilitate the commission of” the alleged money structuring offenses.

Property facilitates a crime when it “‘makes the prohibited conduct less difficult or more or less free

from obstruction or hindrance.’” See United States v. Huber, 404 F.3d 1047, 1060 (8th Cir. 2005)

(quoting Hawkey, 148 F.3d at 928). To support a forfeiture under § 853(a)(2), however, “there must

be ‘something more than an incidental or fortuitous contact between the property and the underlying

illegal activity, although the property need not be indispensable to the commission of’ the offense.”

United States v. Lewis, 987 F.2d 1349, 1356 (8th Cir. 1993) (quoting United States v. Premises

Known as 3639-2nd Street, N.E., Minneapolis, Minn., 869 F.2d 1093, 1096 (8th Cir. 1989)).

       The government reasons that the Hassans’ use of the convenience store to generate the

revenue that was used to purchase the checks “certainly ‘facilitated’ the structuring offense by

making it ‘less difficult or more or less free from obstruction or hindrance.’” At first blush, this

argument has some appeal – the structuring offenses could not have been committed without money.

However, the government cites no case, and the Court has found none, in which a defendant in a

structuring case was required to forfeit the means by which the funds used in the structured

transaction were obtained. The cases relied upon by the government, United States v. Wyly, 193 F.3d



                                                  6
             Case 4:06-cr-00053-JLH Document 94 Filed 07/27/06 Page 7 of 13




289 (5th Cir. 1999), and Huber, are factually distinguishable from this case, as explained below.

Moreover, Huber supports the Hassans’ position that the mere use of the convenience store to

generate funds does not provide a sufficient nexus to the alleged offense to require that the store be

forfeited.

        In Wyly, the defendants were convicted of several offenses in connection with a bribery

scheme. The defendants conspired with a sheriff to build a private prison facility, lease their prison

to the sheriff’s department, and secretly funnel part of the proceeds to the sheriff in return for his

sponsorship of the private prison. Wyly, 193 F.3d at 292-93. On appeal, the defendants challenged

the forfeiture of the prison, arguing that only the funds paid to the sheriff were forfeitable. Id. at 302.

The Fifth Circuit held that the prison was properly forfeited, however, because it was “the source of

the criminal proceeds.” Id.

        This case differs fundamentally from Wyly in that the Hassans’ convenience store was not

the source of “criminal proceeds.” The prison in Wyly was built and the lease signed as part of an

illegal conspiracy part of which included bribing the sheriff, without whose cooperation the sheriff’s

department would not have signed the lease. Id. at 292-93. “Without the prison, there could have

been no bribery, mail fraud, or money laundering.” Id. at 302. The Hassans, however, are not

charged with bribing anyone or with committing mail fraud to obtain the convenience store, nor are

they charged with operating their convenience store illegally. Even if some of the funds legally

generated by the store were sent overseas in amounts designed to avoid the reporting requirements,

the store itself was not part of the alleged money structuring offenses.

        In Huber, the Eighth Circuit explained why such a tenuous connection is insufficient. In

Huber, a farmer leased portions of his land to other individuals as part of a conspiracy to obtain



                                                    7
          Case 4:06-cr-00053-JLH Document 94 Filed 07/27/06 Page 8 of 13




federal farm-program payments and crop-insurance benefits fraudulently. Huber, 404 F.3d at 1051-

52. The farmer was found guilty of numerous offenses, including money laundering, and ordered

to forfeit over five million dollars, which included the funds that were received as a result of the

fraud. Id. at 1051-52, 1059. The Eighth Circuit reversed the portion of the forfeiture judgment that

included crop-insurance subsidies paid by the government to insurers because those funds did not

facilitate the underlying money laundering offense. Id. at 1059-61.

       Causally speaking, the premium subsidies and premium charges did allow the
       individuals to receive the crop-insurance benefits. After all, the government’s role
       in this market is what makes this sort of insurance available to producers at
       reasonable rates, and premiums enable the insurer to pay the insureds’ claims. But
       neither of these effects is sufficient to establish . . . facilitation because neither
       promotes the money laundering. They do contribute in some way to the procurement
       of the funds, but they do not make the further laundering of those funds any “less
       difficult or more or less free from obstruction or hindrance.” Hawkey, 148 F.3d at
       928. Huber and the other individuals simply did not use the funds . . . transferred
       between the government and the insurers to launder money. So these amounts were
       not recoverable through the forfeiture provisions because the funds were not involved
       in the money-laundering conspiracy within the meaning of [the forfeiture statute].

Id. at 1061.

       Here, the convenience store may have enabled the Hassans to generate the revenue that was

sent overseas, but those funds, unlike the funds forfeited in Huber, were not generated by an illegal

conspiracy; and the fact that the store was used to generate money, some of which was sent overseas

in transactions allegedly structured to avoid reporting, is insufficient to establish that the store

facilitated the structuring because the store did not make the structuring of the financial transactions

any less difficult or more or less free from hindrance or obstruction.

       So far as the record shows, the convenience store is operated legally; its revenue is generated

lawfully so that revenue does not constitute criminal proceeds. The Hassans have sent some of the




                                                   8
          Case 4:06-cr-00053-JLH Document 94 Filed 07/27/06 Page 9 of 13




revenue from the store overseas, but in itself that is not illegal. The Hassans are charged with

structuring transactions to avoid reporting, which is unlike money laundering in that it does not

require underlying criminal conduct. See 18 U.S.C. § 1956. The Court is aware of no case in which

a lawfully obtained and lawfully operated business was forfeited. The convenience store is not

property that would be subject to forfeiture under § 853(a) in the event of a conviction for the crimes

charged here. The government’s motion for pretrial restraint of this property pursuant to § 853(e)

is therefore denied.

B.     The government has not proven that the Hassans intended to use the cash seized
       from their home to commit financial structuring offenses.

       Property may be subject to forfeiture when the government proves by a preponderance of the

evidence that it was used or intended to be used to commit or facilitate the underlying offense.

21 U.S.C. § 853(a)(2); United States v. Bieri, 21 F.3d 819, 822 (8th Cir. 1994). Thus, if the

government proved that the Hassans intended to use this money to commit their crimes, the money

presumably would be subject to forfeiture under § 853(a)(2). The government has produced no

evidence, however, to support its allegation that the Hassans intended to use the currency in this

manner.

       In its response to the defendants’ motion for release of assets, the government asserts:

       [T]his money was located in a gym bag in their bedroom along with a spiral notebook
       containing a ledger believed to document the cash as undeclared proceeds siphoned
       from the convenience store owned by the defendants. In addition, in a shoebox
       located nearby, agents recovered a bundle of cash in the amount of $2,931 that
       contained a “post-it” note on which the names of both the remitter and payee were
       handwritten. This bundled cash fits the exact description of the structured
       transactions described by several bank tellers and charged in the indictment.

Thus, the government concludes, the currency seized from the Hassans’ home is subject to forfeiture

“because it was packaged in such a way as to demonstrate the defendants’ intent to use it to purchase

                                                  9
         Case 4:06-cr-00053-JLH Document 94 Filed 07/27/06 Page 10 of 13




additional checks in the exact manner as the numerous previous transactions.”

        The government’s argument as to this issue suffers from two fatal flaws. First, the

government has presented no evidence to support its allegations concerning the items found in the

Hassans’ home. Second, even if the government’s statements were supported by evidence, such

evidence would support a finding that only a small portion of the money seized was intended for use

in illegal transactions.

        Mere suspicion that property was intended to be used in illegal activity will not support

forfeiture of the property. See United States v. One 1976 Ford F-150 Pick-up VIN F14YUB03797,

769 F.2d 525, 527 (8th Cir. 1985). In One 1976 Ford F-150 Pick-up, the Eighth Circuit reversed

a district court’s holding that a defendant’s truck was subject to forfeiture because it facilitated the

defendant’s drug offense, explaining:

        [N]o marijuana was found in the truck and there is but speculation to suggest it was
        to be used to transport marijuana in the future. . . .
                                                ***
        We believe that the truck’s direct connection to the illicit crop is simply too tenuous
        and far removed to support its forfeiture. In fact, the government’s proof shows little
        more than that the truck was seen on one occasion in the approximate area where
        marijuana was grown. Mere suspicion of a vehicle’s use in illegal activity will not
        suffice to support forefeiture [sic]. Moreover, “[f]orfeitures are not favored; they
        should be enforced only when within both the letter and spirit of the law.” United
        States v. One Ford Coach, 307 U.S. 219, 226, 59 S. Ct. 861, 865, 83 L. Ed. 1249
        (1939). Here, we cannot say that the truck was shown to have facilitated the illegal
        activity or was otherwise “substantially associated” with [the defendant’s] marijuana
        farm.

Id. at 526-28.

        The only evidence offered by the government is the FBI agent’s affidavit, described above.

The affidavit reports the seizure of $101,054 from the Hassans’ home but says nothing about the

notebook, the post-it note, or the way the cash was packaged. At the evidentiary hearing,


                                                  10
           Case 4:06-cr-00053-JLH Document 94 Filed 07/27/06 Page 11 of 13




Linda Hassan testified as to the total amount of cash seized and the places in her home where various

amounts of the cash were located. She testified that $76,700 was located in a bag in her bedroom,

that it represented revenue from the Hassans’ convenience stores, and that a spiral notebook

documenting the monthly income from the convenience stores was with the cash.2 She further

testified that the remainder of the currency seized was made up of numerous other amounts of cash,

ranging in value from $26 to $12,500, located in various parts of the house (including the pocket of

her blue jeans). She stated that most of these other amounts of cash represented either proceeds from

money orders sold at the convenience stores, bundled with receipts, or money set aside to pay various

bills, including two substantial bills from the oil company that supplied gas to the convenience

stores. Ms. Hassan acknowledged that part of the cash seized was a bundle containing $2,931 with

a post-it note, but stated that that bundle of money belonged to her sister, Aisha Kattom. Ms. Hassan

did not know what the post-it note was for.

       Generating revenue through the operation of convenience stores and keeping such funds and

related records in one’s home is not illegal. The government has offered conjecture, but no evidence,

that the cash seized from the Hassans’ home is connected to the charged conspiracy. Ms. Hassan’s

testimony shows that none of the cash except $2,931 was “packaged in such a way as to demonstrate

the defendants’ intent to use it to purchase additional checks” in illegally structured amounts. Even

if Ms. Hassan’s testimony lacks credibility, the government has offered no evidence to the contrary,


       2
         Ms. Hassan later admitted that the notebook was written in Arabic and that she cannot
read Arabic. Even if this admission establishes that she lacked personal knowledge of the
contents of the notebook and is therefore not competent to testify as to its contents, such
testimony does not show that the notebook or the cash are linked to any illegal activity. In any
event, while the government has produced no evidence as to the contents of the notebook, the
government apparently agrees with Ms. Hassan that the notebook documented the cash as
proceeds of the convenience stores.

                                                 11
           Case 4:06-cr-00053-JLH Document 94 Filed 07/27/06 Page 12 of 13




and the burden is on the government to show that the Hassans’ assets are forfeitable. See Bieri, 21

F.3d at 822. The Hassans’ motion for release of the $101,054 seized from their home is therefore

granted.

        Moreover, even if the government had presented evidence that the post-it note on the $2,931

bundle showed “the names of both the remitter and payee” for an intended check, such evidence

would indicate, at most, that the Hassans planned to use the $2,931 bundle for a structured

transaction. It would not establish that the Hassans planned to use the rest of the money found in

various locations in their home for illegal transactions. The evidence as to the remainder of the

money shows only that it was located in the approximate area where the $2,931 was found, which,

as explained in One 1976 Ford F-150 Pick-up, is insufficient to support forfeiture. Thus, even if the

government had presented testimony or other evidence to support its allegations, only $2,931 of the

$101,054 seized would be subject to forfeiture.

        Finally, the Hassans’ motion for release of assets also seeks the release of $2,460 seized from

the home of Fuad and Hanan Hasan. Because Eyad and Linda Hassan lack standing to seek the

release of other defendants’ assets, this part of the Hassans’ motion is denied. See United States v.

1998 BMW “I” Convertible, VIN #WBABJ8324WEM20855, 235 F.3d 397, 399 (8th Cir. 2000) (“To

manifest standing in the forfeiture context, a claimant must first show an ownership interest in the

property.”).

                                           CONCLUSION

        Because the government has not shown that the Hassans’ convenience store and cash would

be subject to forfeiture if the Hassans are convicted, these assets are not subject to pretrial restraint

by the government. The government’s motion for protective order to preserve real property subject



                                                   12
         Case 4:06-cr-00053-JLH Document 94 Filed 07/27/06 Page 13 of 13




to forfeiture and motion for writ of entry (Docket #51) is denied. The government’s motion to

reopen the hearing on this matter, stated in it its brief regarding forfeitability of assets (Docket #90),

is also denied. The Hassans’ motion for release of assets (Docket #65) is granted in part and denied

in part. This motion is granted as to the release of the $101,054 seized from the Hassans’ home, but

denied as to the release of the $2,460 seized from the home of Fuad and Hanan Hasan.

        IT IS SO ORDERED this 27th day of July, 2006.




                                                J. LEON HOLMES
                                                UNITED STATES DISTRICT JUDGE




                                                   13
